           Case 3:12-cr-02106-DMS                          Document 92              Filed 09/25/12               PageID.324              Page 1 of 2


                                      Judgment in a Criminal Case
     ""'AD 245B (CAS D) (Rev. 1112)
                Sheet I                                                                                                          FILED
                                                UNITED STATES DISTRICT COUR"
                                                                                                                                 SEP 2 5 2012
                                                                                                                          CLER~. u ~TP.I~- C'
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                   :~UTHERN ~ dCIT OF 'C:.f:~~~NIA
                                                                                                                                                ~      DEPUTY
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CAMU
                                          v.                                       (For Offenses Committed On or After November I, 1987)

                     ISIDRO RODRIGUEZ-SILVA (4)                                    Case Number: 12CR2106-IEG
                                                                                    Alex L Landon
                                                                                   Defendant's Attorney
     REGISTRATION NO. 33812298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) I of the Superseding Information
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                           Nature of Offense                                                                           Number{s)
8: I 324(a)(l )(A)(ii); (v)(II)         Transportation of Illegal Aliens                                                                    I




        The defendant is sentenced as provided in pages 2 through_......;.').,--_ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
                                                              ------------------------------------
  181 Count(s) Underlying Information                                   181 areO     is  of               dismissed on the motion      the United States.
  181 Assessment: $100 waived

  181 Fine waived                                     0    Forfeiture pursuant to order filed                                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               September 24, 2012



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     Case 3:12-cr-02106-DMS                       Document 92           Filed 09/25/12     PageID.325            Page 2 of 2


AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                           Judgment -   Page ___2 _ of
 DEFENDANT: ISIDRO RODRIGUEZ-SILVA (4)
 CASE NUMBER: 12CR2106-IEG
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Time Served.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.     Dp.m.       on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o -----------------------------------------------------------------------
               before
       o       as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on      ____________________________ ro

 at ______________________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                    By __________~~~~~--____~----------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                    12CR2106-IEG
